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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

                                                                 MDL No. 1720 (MKB)(JO)
    In re PAYMENT CARD INTERCHANGE FEE AND                       1:05-md-01720-MKB-JO
    MERCHANT DISCOUNT ANTITRUST LITIGATION                       Civil No. 05-5075 (MKB)(JO)

     OBJECTIONS TO BOTH THE PROPOSED SETTLEMENT AND CLASS COUNSEL’S
       REQUEST FOR ATTORNEY’S FEES; AND NOTICE OF INTENT TO APPEAR



           Rule 23(b)(3) Class Members Jack Rabbit, LLC, 2614 18th Place South, Homewood,

    Alabama, (205) 936-1234, and Cahaba Heights Service Center, Inc. d/b/a Cahaba Heights

    Chevron, 3100 Cahaba Heights Road, Birmingham, AL 35243, (205) 967-7440, hereby object to

    both the proposed settlement and class counsel’s request for attorney’s fees; and give notice of

    their intent to appear at the final fairness hearing scheduled for 10:00 a.m. on November 7, 2019,

    before the Honorable Margo K. Brodie, United States District Judge through undersigned

    counsel.

           Jack Rabbit, LLC is managed by Jack Whitson Kidd, business address as above, (205)

    991-6961 who, has been accepting Visa-Branded Cards (Visa card) and Mastercard-Branded

    Cards (Mastercard) at all times from January 1, 2004 through January 24, 2019, the date this

    court granted the Motion for Class Settlement Preliminary Approval (Docket Entry No. 7361).

    Cahaba Heights Service Center, Inc. d/b/a Cahaba Heights Chevron, is principally owned by

    Lawrence Angelo, business address and phone as above, who, has been accepting Visa Cards and

    Mastercards at all times from January 1, 2004 through January 24, 2019, the date this court

    granted the Motion for Class Settlement Preliminary Approval (Docket Entry No. 7361).

           Objectors Jack Rabbit, and Cahaba Heights Service Center, Inc. d/b/a Cahaba Heights

    Chevron, herinafter the “Jack Rabbit Objectors,” intend to appear and argue at the fairness
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    hearing scheduled 10:00 a.m. on November 7, 2019, before the Honorable Margo K. Brodie,

    United States District Judge through undersigned counsel.

           The Jack Rabbit Objectors state, pursuant to F.R.Civ.P 23(e)(2)(5)(A), that these

    objections apply to the entire class, i.e., these objections do not only apply to the named

    objectors, nor do they only apply to a specific subset of the class, as defined by the Superseding

    Settlement Agreement, at paragraph 4.

           I.      BRANDED FUEL RETAILERS AND OTHERS SIMILARLY SITUATED
                   ARE AN UNREPRESENTED SUBCLASS

           During the class period, the Jack Rabbit Objectors were petroleum dealers engaged in the

    retail sale of branded motor fuels. Credit card transactions, regarding Visa Cards and

    Mastercards, at the objectors’ locations were processed by the applicable branded fuel supplier.

    Thus, when customers used a Visa Card or Mastercard for payment, the payments were

    forwarded to the applicable branded fuel supplier, which first deducted their full share from the

    payment, and then deducted the interchange (base cost) fees charged by Visa or Mastercard from

    the Jack Rabbit Objectors’ proceeds before remitting those proceeds to the objectors. Therefore,

    the Jack Rabbit Objectors, and not the applicable branded fuel supplier, paid the interchange

    fees; were thereby damaged; and, should be made whole by the proposed settlement. Clearly, the

    Jack Rabbit Objectors, and not the applicable branded fuel supplier, are entitled to recover from

    the settlement res. Yet it does not appear that the proposed settlement addresses the issue; which,

    to the best of the Jack Rabbit Objectors’ knowledge and belief, is systemic to the settlement, with

    regard to all retailers of branded fuel. Furthermore, the Jack Rabbit Objectors, and all other class

    members similarly situated, including but not limited to, Subway franchisees as of 2013, are



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    members of an unrepresented subclass, whose interests have not been adequately protected by the

    proposed settlement.

           II.     THE REQUESTED ATTORNEYS’ FEES ARE UNREASONABLE IN
                   LIGHT OF THE SIZE OF THE $6,322,607,198.24 SUPER MEGAFUND
                   SETTLEMENT FUND

           Under the settlement, Visa, Mastercard and the Bank Defendants agreed to provide a

    settlement fund of between $5.54 billion and $6.24 billion depending on the number of class

    members that exclude themselves from the Rule 23(b)(3) Settlement Class. The settlement fund

    has been held in escrow since 2012, and the fund has grown to $6,322,607,198.24 (Document

    7471-1, footnote3). Class Counsel have requested (Document 7471) an Order “ awarding Rule

    23(b)(3) Class Counsel attorneys’ fees of 9.56% of the settlement fund deposited in the Net Cash

    Settlement Escrow Account and Net Interchange Settlement Escrow Account. i.e. between

    $530,962,400.00 and $604,441,248.15.

           In this Circuit, the average attorneys’ fees percentage in settlements above $2.5 billion is

    5.97%1. Applying that percentage in this matter would result in a fee of $377,459,649.73; which

    is $226,981,598.42 less than the requested $604,441,248.15 in attorneys’ fees in this matter.

    Even adding in the additional class actions that settled for between $1 billion and $3 billion2 only


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             In re Visa Check/Mastermoney Antitrust Litig., 297 F. Supp. 2d 503 (EDNY 2003). Settlement
    amount $3.4 billion. Attorneys’ fees percentage 6.5%. In re WorldCom Inc. Sec. Litig., 388 F. Supp. 2d
    319 (SDNY 2005). Settlement amount $6.1 billion. Attorneys' fees percentage 5.5%. In re AOL Time
    Warner Inc. Sec., 2006 WL 3057232 (SDNY 2005). Settlement amount $2.65 billion. Attorneys' fees
    percentage 5.9%.


           2
              In re Nortel Networks Corp. Sec. Litig., No. 04-cv-2115 (SDNY 2006). In re Nortel Networks
    Corp. Sec. Litig., No. 01-cv-1855 (SDNY 2007). In re Credit Default Swaps Antitrust Litig., 2016 SL
    2731524 (SDNY 2016). In re Petrobras Secs. Litig., 317 F. Supp. 3d 858 (SDNY 2018). In re Foreign
    Exch. Benchmark Rates Antitrust Litig., 2018 US Dist LEXIS 191373 (Nov. 8, 2018). In re Tremont Sec.
    Law, 2019 US Dist LEXIS 21910 (Feb. 11, 2019).

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    increases the average attorneys' fees percentage from 5.97% to 7.05%; which is nowhere near

    class counsel’s requested 9.56%.

           The foregoing percentages are the result of applying a sliding scale percentage to

    attorneys’ fees in super megafund cases based on the economies of scale that these settlement

    represent. Just as the settlement value of this case is an artifact of the pervasive use of Visa and

    Mastercard credit cards in our society; so too are all super megafunds settlements artifacts of

    their own economies of scale.

           In Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96 (2d Cir. 2005) the court wrote

    “At the district court, lead counsel for the plaintiffs sought a fee of $ 609,012,000 --

    approximately 18% of the present value of the Settlement's compensatory relief, 2.14% of the

    present value of the Settlement (inclusive of injunctive relief), and 9.68 times the lodestar figure

    of $62,940,045.84. Visa Check III, 297 F. Supp. 2d at 522. Seventeen merchants objected to

    counsel's fee petition. Id. at 509 n.6, 522 n.27. The court found the fee petition excessive despite

    the excellence of plaintiffs' representation, id. at 522, 524. Assessing the fee petition with a

    careful eye for the interests of all class members, the court awarded fees in the amount of $

    220,290,160.44 plus an additional $ 18,716,511.44 in costs and expenses. Id. at 507, 524-26.

    Leonardo's3 argues that the district court's fee award was too high, while Constantine & Partners

    ("C&P"), plaintiffs' lead counsel, contends that the fee award was too low.” After approving the

    percentage of the fund methodology in awarding attorney fees: “‘The trend in this Circuit is

    toward the percentage method,’ Visa Check III, 297 F. Supp. 2d at 520, which ‘directly aligns the

    interests of the class and its counsel and provides a powerful incentive for the efficient


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               Represented by undersigned counsel.

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    prosecution and early resolution of litigation,’ In re Lloyd's Am. Trust Fund Litig., 2002 U.S.

    Dist. LEXIS 22663 at 74, 2002 WL 31663577, at 25.” In discussing whether to apply a sliding

    scale to attorneys’ fees in megafund case, the court wrote “We need not dispute whether the

    sliding scale approach is economically rational in the context of ensuring competent and

    committed counsel. Public policy concerns oftentimes redefine the focus of the court. In this

    case, the district court's decision in favor of protecting the instant class from an excessive fee

    award militates against awarding attorneys' fees based purely on economic incentives. Satisfied

    that its ruling would not deter plaintiffs' attorneys from pursuing similar claims, the district court

    remarked, "If [this fee award] amounts to punishment, I am confident there will be many

    attempts to self-inflict similar punishment in future cases." Visa Check III, 297 F. Supp. 2d. at

    525. We agree.

           While courts in megafund cases often award higher percentages of class funds as fees

    than the district court awarded in this instance, see id. at 525 n.33, the sheer size of the instant

    fund makes a smaller percentage appropriate.” (emphasis added)

            The Jack Rabbit Objectors hereby adopt and incorporate any and all other properly-filed

    objections not inconsistent with the foregoing as if set forth fully herein.

           WHEREFORE, the Jack Rabbit Objectors respectfully request that this Court sustain

    these Objections and enter such Orders as are necessary and just to adjudicate these Objections,

    including but not limited to, an Order:

           A.      Disapproving the proposed settlement because petroleum dealers engaged in the

    retail sale of branded motor fuels, such as the Jack Rabbit Objectors, and not the applicable

    branded fuel suppliers, are entitled to recover from the settlement res;


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           B.       Disapproving the proposed settlement because there are other class members

    similarly situated to petroleum dealers engaged in the retail sale of branded motor fuels,

    including but not limited to, Subway franchisees as of 2013, who are members of an

    unrepresented subclass, whose interests have not been adequately protected by the proposed

    settlement;

           C.       Requiring the appointment of one or more subclass representatives to alleviate the

    current problems with the proposed settlement over distribution of the settlement funds to those

    who were damaged;

           D.       Denying the 9.56% of the common fund requested by class counsel as attorneys'

    fees and instead awarding 5.97%, which would result in a fee of $377,459,649.73 to class

    counsel; and,

           E.       Granting such other relief that this Court deems necessary or proper to protect the

    interests of the un-named class members.



                                                  Respectfully submitted,

                                                  /s/ N. Albert Bacharach, Jr.
                                                  N. Albert Bacharach, Jr.
                                                  Florida Bar Number: 209783
                                                  Attorney for Class Members/Objectors
                                                  Jack Rabbit, LLC & Cahaba Heights Service
                                                  Center, Inc. d/b/a Cahaba Heights Chevron
                                                  N. Albert Bacharach, Jr., P.A.
                                                  4128 NW 13th Street
                                                  Gainesville, FL 32609-1807
                                                  (352) 378-9859
                                                  (352) 338-1858 (Fax)
                                                  E-Mail: N.A.Bacharach@att.net



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                                   CERTIFICATE OF SERVICE

           I HEREBY certify that on July 23, 2019 I electronically filed the foregoing using the

    court's CM/ECF system and that all parties of record have been noticed and served by the

    CM/ECF system.


                                                        /s/ N. Albert Bacharach, Jr.
                                                        N. Albert Bacharach, Jr.




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